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6                           UNITED STATES DISTRICT COURT
7                          SOUTHERN DISTRICT OF CALIFORNIA
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9      Ms. L.; et al.,                                 Case No.: 18cv428 DMS(MDD)
10                       Petitioners-Plaintiffs,
                                                       NOTICE OF DIAL-IN
11     v.                                              INFORMATION
12     U.S. Immigration and Customs
       Enforcement (“ICE”); et al.,
13
                    Respondents-Defendants.
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15          For purposes of the telephonic status conference scheduled for June 22,
16    2018, at 12:00 p.m., the Court has set up a dial in number for counsel and any
17    members of the news media that wish to attend. This number is for counsel
18    and media only, who should follow the steps below to connect to the
19    conference call:
20          1.     Dial the toll free number: 877-873-8018;
21          2.     Enter the Access Code: 9911153 (Participants will be put on hold
22                 until the Court activates the conference call);
23          3.     Enter the Participant Security Code 06220428 and Press # (The
24                 security code will be confirmed);
25          4.     Once the Security Code is confirmed, participants will be prompted
26                 to Press 1 to join the conference or Press 2 to re-enter the Security
27                 Code.

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                                                                        18cv0428-DMS(MDD)
